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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :       CASE NO. 21-cr-28-10 (APM)
                v.                              :
                                                :
KENNETH HARRELSON,                              :
                                                :
                        Defendant.              :


          RESPONSE TO APPLICATION FOR ACCESS TO VIDEO EXHIBITS

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby responds to the petitioners’ application to access video exhibits

submitted to the Court in the above-captioned case (ECF 296). Petitioners represent news

organizations, which have moved this Court to disclose video evidence provided to the Court in

connection with the pretrial detention hearing for the defendant in this case, pursuant to the

procedure outlined by this Court in Standing Order 21-28 (BAH) in In re Press Coalition’s Motion

for Access to Video Exhibits and to Set Aside Standing Order No. 21-28. The government is in

agreement that the videos submitted to this Court can be released in accordance with the procedure

outlined by this Court. See Standing Order 21-28, at 5-6.

        The D.C. Circuit has consistently employed the six-factor “Hubbard test” 1 when

determining whether the common-law right of access to judicial records requires those records to


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  The Hubbard test balances the following factors: “(1) the need for public access to the documents
at issue; (2) the extent of previous public access to the documents; (3) the fact that someone has
objected to disclosure, and the identity of that person; (4) the strength of any property and privacy
interests asserted; (5) the possibility of prejudice to those opposing disclosure; and (6) the purposes
for which the documents were introduced during the judicial proceedings.” Leopold v. v. United
States, 964 F.3d 1121, 1131 (D.C. Cir. 2020) (quoting MetLife, Inc. v. Fin. Stability Oversight
Council, 865 F.3d 661, 665 (D.C. Cir. 2017)).

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be made available to the public for copying and inspection. Applied in the general context of video

exhibits admitted into evidence in court hearings involving defendants charged with criminal

offenses related to the January 6, 2021 breach of the U.S. Capitol, and absent order of the court,

that test generally weighs in favor of allowing public access to these exhibits.

       The petitioners’ filing seeks three video exhibits the government provided to the Court on

April 12, 2021, as exhibits to the government’s opposition to the defendant’s motion for bond

(ECF 152). The Court presided over the detention hearing held in this matter in the District of

Columbia on April 14, 2021. Neither party sought a sealing order for the videos upon their

submission.

       Therefore, because the videos were used in this Court’s decision on detention, and they

were not subject to a sealing order, the government does not object to their disclosure, including

their release for recording, copying, downloading, retransmitting or further broadcasting.

                                              Respectfully submitted,

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